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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 SGCI HOLDINGS III LLC AND
 SOOHYUNG KIM,

                        Plaintiffs,
                                                     Case No. 24-1204-RC
                v.

 FEDERAL COMMUNICATIONS
 COMMISSION; JESSICA ROSENWORCEL,
 in her official capacity as Chairwoman of the
 FCC; HOLLY SAURER, in her official
 capacity as Chief of the Media Bureau; THE
 ALLEN MEDIA GROUP, INC. f/k/a
 Entertainment Studios, Inc.; DISH
 NETWORK CORPORATION; THE
 GOODFRIEND GROUP, INC.; THE
 NEWSGUILD-CWA; NATIONAL
 ASSOCIATION OF BROADCAST
 EMPLOYEES AND TECHNICIANS-CWA;
 UNITED CHURCH OF CHRIST, OC INC.,
 d/b/a United Church of Christ Media Justice
 Ministry; COMMON CAUSE; BYRON
 ALLEN; CHARLES ERGEN; and DAVID
 GOODFRIEND,

                        Defendants.


     [PROPOSED] ORDER GRANTING MOTION FOR RULE 11 SANCTIONS BY
      DEFENDANTS DISH NETWORK CORPORATION AND CHARLES ERGEN

       After considering the Motion for Rule 11 Sanctions By Defendants DISH Network

Corporation (“DISH”) and Charles Ergen (“Ergen”), the Statement of Points and Authorities in

Support, the pleadings and papers filed by the parties in connection therewith, and all other

matters presented to the Court, and good cause having been shown:

       IT IS HEREBY ORDERED that the Motion is GRANTED in its entirety:




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       1.      The Amended Complaint filed by Plaintiffs SGCI Holdings III LLC and

Soohyung Kim (together, “Plaintiffs”) as to DISH and Ergen is dismissed with prejudice.

       2.      Plaintiffs and Plaintiffs’ counsel, jointly and severally, shall pay monetary

sanctions to DISH and Ergen in an amount covering all of the attorneys’ fees and costs incurred

by DISH and Ergen in connection with this matter, to be determined by agreement of the parties

or by a fee petition filed by DISH and Ergen within 30 days of this Order.




                                                       _____________________________
Entered:                                               Honorable Judge Rudolph Contreras
                                                       United States District Judge




Prepared and Submitted by:

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